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JOEL K. BELWAY [60556]

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Professional Corporation

235 Montgomery St., Suite 668
San Francisco, CA 94104
Telephone: (415) 788-1702
Facsimile: (415) 788-1517

Attorneys for Defendant
ELIZABETH IGUDESMAN

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

In re Chapter 7 No. 10-32694

LEONID IGUDESMAN, aka LEON
IGUDESMAN, aka LEONARD
IGUDESMAN; and ELIZAVETA
IGUDESMAN, aka LISA IGUDESMAN,
aka ELIZABETH IGUDESMAN,

 

Debtors.
MICHAEL DEGTYAREV, A.P. No. 10-03185
Plaintiff, ANSWER TO COMPLAINT

vs.

ELIZABETH IGUDESMAN, and
individual; LEONID IGUDESMAN,
and individual; and DOES 1-20
inclusive.

 

 

 

6: 10-03185 Doc#8 Filed: 12/06/10

 

1 ANSWER TO COMPLAINT

 

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COMES NOW defendant Elizabeth Igudesman (“Answering
Defendant”) for herself alone and for no other defendant, and in
answer to the Complaint to Determine Nondischargeability of Debt
Pursuant to 11 U.S.C. Sections 523(a) (2) (A), 523(a) (2) (B),

523(a) (4), 523(a) (6), 727(a) (2) (A) and 727(a) (3) (the
“Complaint”) by plaintiff Michael Degtyarev (“Plaintiff”) against
Answering Defendant and Leonid Igudesmanand admits, denies and
alleges as follows:

1. Answering Defendant admits the allegations of Paragraph
1 of the Complaint.

2. Answering Defendant admits the allegations of Paragraph
2 of the Complaint.

3. Answering Defendant admits the allegations of Paragraph
3 of the Complaint.

4, Answering Defendant admits the allegations of Paragraph
4 of the Complaint.

5. Answering Defendant lacks sufficient information or
belief to answer the allegations of Paragraph 5, and upon such
grounds denies those allegations.

6. Answering Defendant lacks sufficient information or
belief to answer the allegations of Paragraph 6, and upon such
grounds denies those allegations.

7. Answering Paragraph 7, Answering Defendant incorporates
herein each and every admission, denial and allegation set forth
in Paragraphs 1-6 hereinabove as though set forth at length.

8. Answering Defendant lacks sufficient information or
belief to answer the allegations of Paragraph 8, and upon such

grounds denies those allegations.

2 ANSWER TO COMPLAINT

 
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9. Answering Paragraph 9, Answering Defendant denies that
she was a real estate broker assigned to Plaintiff’s file.
Answering Defendant alleges that she was an agent for Bridgeline
Capital.

10. Answering Paragraph 10, Answering Defendant admits and
alleges that contents of the email attached as Exhibit 1 to the
Complaint are as stated therein and not otherwise. Except as
expressly admitted, Answering Defendant denies the allegations of
Paragraph 10.

11. Answering Paragraph 11, Answering Defendant admits and
alleges that she and Plaintiff had preliminary discussions about
a loan for $200,000, and Answering Defendant and Plaintiff
reached an agreement for a loan of $240,000 by Plaintiff at 7.5%
interest. Answering Defendant alleges that she told Plaintiff
that she anticipated receiving funds from a third party within 60
days and that upon receipt of such funds, they would be used to
repay Plaintiff’s loan. Except as expressly admitted, Answering
Defendant denies the allegations of Paragraph 11.

12. Answering Paragraph 12, Answering Defendant admits and
alleges that the contents of the Note attached as Exhibit 2 to
the Complaint are as stated therein and not otherwise. Except as
expressly admitted, Answering Defendant denies the allegations of
Paragraph 12.

13. Answering Paragraph 12, Answering Defendant admits and
alleges that the contents of Exhibit 3 to the Complaint are as
stated therein and not otherwise. Except as expressly admitted,

Answering Defendant denies the allegations of Paragraph 13.

3 ANSWER TO COMPLAINT

 
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14. Answering Paragraph 12, Answering Defendant admits and
alleges that the contents of the email attached as Exhibit 4 to
the Complaint are as stated therein and not otherwise. Except as
expressly admitted, Answering Defendant denies the allegations of
Paragraph 14.

15. Answering Paragraph 15, Answering Defendant admits that
on or about October 1, 2009 she did not pay Plaintiff the balance
of the loan memorialized in Exhibit 2 to the Complaint.

16. Answering Paragraph 16, Answering Defendant admits and
alleges that the contents of Exhibit 5 to the Complaint are as
stated therein and not otherwise. Except as expressly admitted,
Answering Defendant denies the allegations of Paragraph 16.

17. Answering Paragraph 17, Answering Defendant admits and
alleges that the contents of Exhibit 6 to the Complaint are as
stated therein and not otherwise. Except as expressly admitted,
Answering Defendant denies the allegations of Paragraph 17.

18. Answering Paragraph 18, Answering Defendant admits and
alleges that the contents of Exhibit 7 to the Complaint are as
stated therein and not otherwise. Except as expressly admitted,
Answering Defendant denies the allegations of Paragraph 18.

19. Answering Paragraph 19, Answering Defendant admits that
she, as a joint debtor, filed bankruptcy on or about July 18,
2010. Except as expressly admitted, Answering Defendant lacks
sufficient information or belief to answer the allegations of
Paragraph 19, and upon such grounds denies those allegations.

FIRST CLAIM FOR RELIEF
20. Answering Paragraph 20, Answering Defendant

incorporates herein each and every admission, denial and

4 ANSWER TO COMPLAINT

 
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allegation set forth in Paragraphs 1-19 of the Complaint as
though set forth at length.

21. Answering Paragraph 21, Answering Defendant alleges
that the provisions of Section 523(a) (2) (A) of the Bankruptcy
Code are set forth therein and not otherwise.

22. Answering Paragraph 22, Answering Defendant admits that
she requested a loan in 2009 from Plaintiff for $240,000, and
that she executed the Promissory Note attached as Exhibit 2 to
memorialize that loan. Except as expressly admitted, Answering
Defendant denies the allegations of Paragraph 22.

23. Answering Defendant denies the allegations of Paragraph
23 of the Complaint.

24, The terms of the Note are as stated therein and not
otherwise. Answering Defendant’s testimony at the meeting of
creditors is as stated on the record thereof and not otherwise.
Except as expressly admitted, Answering Defendant denies the
allegations of Paragraph 24.

25. Answering Defendant admits the allegations of Paragraph
25 of the Complaint.

26. Answering Paragraph 26, Answering Defendant admits and
alleges that she told Plaintiff she needed a short term loan and
that anticipated receiving funds from a third party that would be
used to repay Plaintiff. Answering Defendant admits and alleges
that she did not receive the funds she anticipated receiving from
a third party that would have been used to repay Plaintiff.
Except as expressly admitted, Answering Defendant denies the

allegations of Paragraph 26.

5 ANSWER TO COMPLAINT

 
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SECOND CLAIM FOR RELIEF

Paragraph 37, Answering Defendant

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allegation set forth in Paragraphs 1-36 hereinabove as though set

forth at length.

38.

Answering Paragraph 38, Answering Defendant alleges

that the provisions of Bankruptcy Code Section 523(a)(2)(B) are

as stated therein and not otherwise.

ANSWER TO COMPLAINT

 
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Answering Paragraph 44, Answering Defendant

incorporates herein each and every admission, denial and
allegation set forth in Paragraphs 1-43 hereinabove as though set
forth at length.

45. Answering Paragraph 45, Answering Defendant alleges
that the provisions of Bankruptcy Code Section 523(a) (4) are as
stated therein and not otherwise.

46. Answering Defendant lacks sufficient information or
belief to answer the allegations of Paragraph 46 of the
Complaint, and upon such grounds denies those allegations.

47. Answering Defendant denies the allegations of Paragraph
47 of the Complaint.

48. Answering Defendant denies the allegations of Paragraph
48 of the Complaint.

49. Answering Defendant denies the allegations of Paragraph
49 of the Complaint.

FOURTH CLAIM FOR RELIEF

7 ANSWER TO COMPLAINT

 
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50. Answering Paragraph 50, Answering Defendant
incorporates herein each and every admission, denial and
allegation set forth in Paragraphs 1-49 hereinabove as though set
forth at length.

51. Answering Paragraph 51, Answering Defendant alleges
that the provisions of Bankruptcy Code Section 523(a)(6) are as
stated therein and not otherwise.

52. Answering Defendant lacks sufficient information or
belief to answer the allegations of Paragraph 52 of the
Complaint, and upon such grounds denies those allegations.

53. Answering Defendant denies the allegations of Paragraph
53 of the Complaint.

54. Answering Defendant denies the allegations of Paragraph
54 of the Complaint.

55. Answering Defendant denies the allegations of Paragraph
55 of the Complaint.

56. Answering Defendant denies the allegations of Paragraph
56 of the Complaint.

57. Answering Defendant denies the allegations of Paragraph
57 of the Complaint.

FIFTH CLAIM FOR RELIEF

58. Answering Paragraph 58, Answering Defendant
incorporates herein each and every admission, denial and
allegation set forth in Paragraphs 1-57 hereinabove as though set
forth at length.

57. [Sic]. Answering Paragraph 57 [sic], Answering
Defendant alleges that the provisions of Bankruptcy Code Section

727(a) (2) (A) are as stated therein and not otherwise.

8 ANSWER TO COMPLAINT

 
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59. Answering Paragraph 59, Answering Defendant lacks
sufficient information or belief to answer the allegations of
Paragraph 59 of the Complaint, and upon such grounds denies those
allegations.

60. Answering Defendant denies the allegations of Paragraph
60 of the Complaint.

61. Answering Defendant denies the allegations of Paragraph
61 of the Complaint.

SIXTH CLAIM FOR RELIEF

 

62. Answering Paragraph 62, Answering Defendant
incorporates herein each and every admission, denial and
allegation set forth in Paragraphs 1-61 hereinabove as though set
forth at length.

63. Answering Paragraph 63, Answering Defendant alleges
that the provisions of Bankruptcy Code Section 727(a) (3) are as
stated therein and not otherwise.

64. Answering Paragraph 64, Answering Defendant lacks
sufficient information or belief to answer the allegations of
Paragraph 64 of the Complaint, and upon such grounds denies those
allegations.

65. Answering Defendant denies the allegations of Paragraph
65 of the Complaint.

66. Answering Defendant denies the allegations of Paragraph
66 of the Complaint.

67. Answering Defendant denies the allegations of Paragraph
67 of the Complaint.

FIRST AFFIRMATIVE DEFENSE

9 ANSWER TO COMPLAINT

 
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The Complaint and each claim for relief therein fails to
state a claim against Answering Defendant upon which relief can
be granted.

SECOND AFFIRMATIVE DEFENSE
The Complaint is barred by the laws of usury.

THIRD AFFIRMATIVE DEFENSE

 

Any claims by Plaintiff under the Complaint are barred by
the doctrines of setoff and recoupment in that Plaintiff, through
his actions, has damaged Answering Defendant in a sum in excess
of the amounts claimed by Plaintiff.

FOURTH AFFIRMATIVE DEFENSE
The Complaint is barred by the doctrine of estoppel.
FIFTH AFFIRMATIVE DEFENSE

The Complaint is barred by the doctrine of unclean hands.

WHEREFORE Answering Defendant Prays for judgment as follows:

1. That Plaintiff take nothing and for judgment in favor of

Answering Defendant;
2. Costs of suit incurred herein; and
3. Such other and further relief as the Court may deem meet

in the premises.

Dated: December 2, 2010 THE LAW OFFICE OF JOEL K. BELWAY
Professional Corporation

/s/ Joel K. Belway
JOEL K. BELWAY
Attorney for Elizabeth Igudesman

 

10 ANSWER TO COMPLAINT

 
 

 

 

 

1 DECLARATION OF SERVICE
2 I am over the age of eighteen years and not a party to the
3 within action. On December 6, 2010, I served the attached ANSWER
4|] TO COMPLAINT on the interested parties in this action by placing
5|f] true copies thereof in sealed envelopes and transmitting said
6|| envelopes to the following addresses by the means indicated:
7
8 Via First-Class U.S. Mail
9 Joseph A. Lepera, Esq.
Law Office of Joseph A. Lepera
10 One Market - Spear Tower
36° Floor
11 San Francisco, CA 94105
12 .
I declare under penalty of perjury under the laws of the
13 State of California that the foregoing is true and correct.
14 Executed on December 6, 2010, at San Francisco, California.
15
16 /s/ Kathleen S. Belway
KATHLEEN S. BELWAY
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11 ANSWER TO COMPLAINT
Case: 10-03185 Doc#8 Filed: 12/06/10 Entered: 12/16/10 11:40:20 Page 11 of 11

 

 
